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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


JAMES GINDIN, individually and on
behalf of all others similarly situated,
                                                Case No.
                    Plaintiff,
                                                CLASS ACTION COMPLAINT
v.

JEFF GLOVER & ASSOCIATES, INC.,
a Michigan corporation, JEFF GLOVER,
                                         JURY TRIAL DEMANDED
an individual, JAD SWEIS, an individual,
COLBY LOOMIS, an individual, and
ANTHONY BERTRAND, an individual,
                    Defendants.


      Plaintiff James Gindin (“Plaintiff” or “Gindin”) brings this Class Action

Complaint and Demand for Jury Trial (“Complaint”) against Defendants Jeff

Glover & Associates, Inc. (“JGAI”), Jeff Glover (“Glover”), Jad Sweis (“Sweis”),

Colby Loomis (“Loomis”), and Anthony Bertrand (“Bertrand”) (collectively

“Defendants” or “Glover”): (1) to stop Defendants’ practice of placing calls to

consumers whose telephone numbers have been registered on the National Do Not

Call Registry; (2) to stop their practice of placing calls to consumers who have

expressly asked not to be called; and (3) to obtain redress for all persons injured by

their conduct. Plaintiff, for his Complaint, alleges as follows upon personal

knowledge as to himself and his own acts and experiences, and, as to all other


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matters, upon information and belief, including investigation conducted by his

attorneys.

                            JURISDICTION & VENUE

       1.    The Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection

Act, 47 U.S.C. § 227, et seq., a federal statute. The Court also has jurisdiction

under the Class Action Fairness Act, 28 U.S.C. § 1332 (“CAFA”). The alleged

Classes consist of over 100 persons each, there is minimal diversity, and the claims

of the class members when aggregated together exceeds $5 million. Further, none

of the exceptions to CAFA applies.

       2.    This Court has personal jurisdiction over Defendant Glover &

Associates because it solicits significant business in this District, is headquartered

and resides in this District, has entered into business contracts in this District, and a

significant portion of the unlawful conduct alleged in this Complaint occurred in,

was directed to, and/or emanated from this District.

       3.    This Court has personal jurisdiction over Defendants Glover, Sweis,

Loomis, and Bertrand because they solicit significant business in this District, they

each reside in this District, and a significant portion of the unlawful conduct

alleged in this Complaint occurred in, was directed to, and/or emanated from this

District.



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       4.        Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendants

are headquartered and reside in this District and solicit a significant amount of

consumer business within this District and because a portion of the wrongful

conduct giving rise to this case occurred in, was directed to, and/or emanated from

this District.

                                        PARTIES

       5.        Plaintiff James Gindin is a natural person and resident of Brighton,

Livingston County, Michigan.

       6.        Defendant Jeff Glover & Associates, Inc. is a Michigan corporation

incorporated and existing under the laws of the State of Michigan whose primary

place of business and corporate headquarters is located at 459 South Main Street,

Plymouth, Michigan 48170.

       7.        Defendant Jeff Glover is a natural person and resident of the State of

Michigan.

       8.        Defendant Jad Sweis is a natural person and resident of the State of

Michigan.

       9.        Defendant Colby Loomis is a natural person and resident of the State

of Michigan.

       10.       Defendant Anthony Bertrand is a natural person and resident of the

State of Michigan.



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                     COMMON FACTUAL ALLEGATIONS

        11.   Defendant JGAI is a real estate agency that contracts with individuals

to assist them in buying and selling properties. The calls at issue in this case were

made on behalf of, for the benefit of, and with the knowledge and approval of

JGAI.

        12.   Defendant Jeff Glover is a real estate sales agent employed by or

associated with Defendant JGAI. Glover made and oversaw the making of the calls

at issue in this case and was responsible for the calling policies and programs used

by agents of JGAI.

        13.   Defendant Jad Sweis is a real estate sales agent employed by or

associated with Defendant JGAI.

        14.   Defendant Colby Loomis is a real estate sales agent employed by or

associated with Defendant JGAI.

        15.   Defendant Anthony Bertrand is a real estate sales agent employed by

or associated with Defendant JGAI.

        16.   Unfortunately for consumers, Defendants, in an attempt to secure new

listings and home sales (and commissions) for JGAI, engage in aggressive

telemarketing—often stepping outside the law in the process. That is, Defendants

research consumers who may be interesting in listing their homes for sale or




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changing their current broker. 1 Once located, Defendants bombard the consumer

with repeated unsolicited telephone calls—even if the consumers phone numbers

have been placed on the National Do Not Call Registry. Further, despite

consumers’ repeated attempts to opt-out of future calls, Defendants continue to call

them, even more than thirty (30) days after receiving the requests not to be

called—a plain violation of the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227, et seq.

        17.   Notably, Telemarketers who wish to avoid calling numbers listed on

the National Do Not Call Registry can easily and inexpensively do so by

“scrubbing” their call lists against the National Do Not Call Registry database. The

scrubbing process identifies those numbers on the National Do Not Call Registry,

allowing telemarketers to remove those numbers and ensure that no calls are

placed to consumers who opt-out of telemarketing calls.

        18.   To avoid violating the TCPA by calling registered numbers,

telemarketers must scrub their call lists against the National Do Not Call Registry

at least once every thirty-one days. See 16 C.F.R. § 310.4(b)(3)(iv).

        19.   Rather than adhere to the requisite rules, Defendants place multiple

calls to consumers who have never provided consent (either orally or in writing) to

1
 See Cold Calling Tips That Pay Big, https://blog.kw.com/2015/03/18/cold-
calling-tips-pay-big/ (Mar. 18, 2015); see also How to Build a Big Business
Around Telephone Prospecting, https://blog.kw.com/2014/09/18/how-to-build-a-
big-business-around-telephone-prospecting/ (Sept. 18, 2014).

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receive such calls.

        20.   What’s worse, despite repeated attempts to request for Defendants to

stop calling, Defendants simply ignore such requests and continue to place calls

more than thirty days after the request, which also violates the TCPA, 47 U.S.C. §

227, et seq. Defendants ignore the National Do Not Call Registry and make

repeated calls to consumers who, like Plaintiff, have no “established business

relationship” with Defendants and who are registered on the National Do Not Call

Registry.

        21.   On information and belief, Defendants fail maintain a written policy

for maintaining an internal Do Not Call list that is available on demand and fail to

train their personnel in telemarketing in the existence and use of any such policy or

list.

        22.   By making unauthorized telemarketing calls as alleged herein,

Defendants have caused consumers actual harm. This includes the aggravation,

nuisance and invasions of privacy that result from the placement of such calls, in

addition to the wear and tear on their telephones, consumption of battery life, lost

ability to place outgoing calls, cellular minutes for calls to cellphone owners, loss

of value realized for the monies consumers paid to their carriers for the receipt of

such calls, and the diminished use, enjoyment, value, and utility of their telephone

plans. Furthermore, Defendants made the calls knowing they trespassed against



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and interfered with Plaintiff and the other Class members’ use and enjoyment of,

and the ability to access, their phones, including the related data, software,

applications, and hardware components.

       23.    Defendants knowingly made, and continue to make, repeated

telemarketing calls without the prior express consent of the recipients whose

numbers were listed on the Do Not Call list and more than thirty (30) days after the

recipient asked for the calls to stop. As such, Defendants not only invaded the

personal privacy of Plaintiff and members of the putative Classes, they also

intentionally and repeatedly violated the TCPA.

       24.    Defendants are all associated with Defendant JGAI and the calls were

made on JGAI’s behalf and with its knowledge and approval. Defendants knew

about the calls, received the benefits of the calls, directed that the calls be made,

and ratified the calls.

       25.    The TCPA was enacted to protect consumers from unsolicited

telephone calls like those alleged in this case. In response to Defendants’ unlawful

conduct, Plaintiff files the instant lawsuit and seeks an injunction requiring

Defendants to cease all unsolicited telephone calling activities to consumers as

complained of herein and an award of statutory damages to the members of the

Classes, together with costs and reasonable attorneys’ fees.

              FACTS SPECIFIC TO PLAINTIFF JAMES GINDIN



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         26.   Plaintiff Gindin is the owner and customary user of a telephone

number ending in 4837.

         27.   On January 11, 2007, Plaintiff Gindin registered his telephone number

on the National Do Not Call Registry to avoid receiving unsolicited telemarketing

calls.

         28.   In or around early 2016, Gindin listed his home for sale.

         29.   Later, in or around July 2016, Gindin made the decision to retain his

home and remove all sale listings.

         30.   Shortly thereafter, Plaintiff began receiving non-stop telemarketing

calls from the Defendants soliciting Plaintiff to utilize their home listing and other

real estate brokerage services.

         31.   All of the calls were made by associates of JGAI at the direction and

oversight of Glover. The calls all came from JGAI phone numbers as indicated on

Plaintiff’s Caller ID and all of the callers are associates of JGAI. JGAI and Glover

knew about, directed, ratified, and benefitted from the calls.

         32.   Plaintiff received telemarketing calls from Defendants from a variety

of telephone numbers, including: 734-259-1278, 734-259-1121, 248-633-6947,

248-930-0198, 248-633-6947, and others.

         33.   Defendant JGAI is the owner of all telephone numbers utilized to

place calls to Plaintiff.



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      34.    On information and belief, Defendant Sweis is the primary and

customer user of the telephone number 734-259-1278. Sweis placed at least three

known calls to Plaintiff in a twelve-month period and/or more than thirty (30) days

after Plaintiff requested to no longer be called on September 6, 2016.

      35.    On information and belief, Defendant Loomis is the primary and

customer user of the telephone number 734-259-1121. Loomis placed at least two

known calls to Plaintiff in a twelve-month period and/or more than thirty (30) days

after Plaintiff requested to no longer be called on September 6, 2016.

      36.    On information and belief, Defendant Bertrand is the primary and

customer user of the telephone number 248-633-6947. Bertrand placed at least

three known calls to Plaintiff in a twelve-month period and/or more than thirty (30)

days after Plaintiff requested to no longer be called on September 6, 2016.

      37.    After receiving repeated telemarketing calls from Defendants, on or

around September 6, 2016, Plaintiff posted a complaint on Defendant JGAI’s

website requesting that Defendants stop all telemarketing calls to his telephone.

      38.    Later that same day, September 6, 2016, Defendant Glover responded

and acknowledged Plaintiff’s request to no longer be called and further informed

Plaintiff that he would remove his name and number from Defendants’ calling list.

      39.    Nevertheless, and despite repeated requests for the calls to stop and an

acknowledgement from Defendant JGAI and Glover that the calls would stop,



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Plaintiff continued to receive multiple telemarketing calls from Defendants,

including calls more than thirty (30) days after Plaintiff’s September 6, 2016

request not to be called.

        40.    Plaintiff received over twenty-five calls from or on behalf of JGAI

that were placed, in part, by the individual Defendants more than 30 days after

Plaintiff’s September 6, 2016 request to be placed on Defendants’ internal do not

call list.

        41.    On or around August 2017, after having listed his home for sale again,

Plaintiff removed the listing for a second time.

        42.    Shortly thereafter, Plaintiff was, again, flooded with calls from the

Defendants attempting solicit Plaintiff to utilize their home listing and other real

estate brokerage services.

        43.    Then, on or around May 2018, having listed his home for sale a third

time, Plaintiff made the decision to change real estate agents and briefly removed

his listing.

        44.    Unsurprisingly, Defendants continued to bombard Plaintiff with calls

attempting to again utilize their home listing and other real estate brokerage

services.

        45.    Plaintiff does not have a relationship with Defendants, has never

provided his telephone number directly to Defendants, and has never requested that



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Defendants place calls to him or to offer him their services. Simply put, Plaintiff

has never provided any form of prior express consent to Defendants to place

telemarketing calls to him and has no business relationship with Defendants.

       46.   Defendants were, and are, aware that the above-described

telemarketing calls were made to consumers like Plaintiff who have not consented

to receive them.

       47.   Moreover, Defendants deliberately and intentionally refuse to honor

requests by consumers to place their numbers on Defendants’ do not call list, to the

extent it maintains any such list or has a policy regarding the maintenance of any

such list.

       48.   By making unsolicited calls as alleged herein, Defendants have caused

Plaintiff and members of the Classes actual harm. This includes the aggravation,

nuisance, and invasions of privacy that result from the placement of such calls, in

addition to the wear and tear on their telephones, interference with the use of their

phones, consumption of battery life, loss of value realized for the monies

consumers paid to their wireless carriers for the receipt of such calls, and the

diminished use, enjoyment, value, and utility of their telephone plans. Furthermore,

Defendants made the calls knowing they trespassed against and interfered with

Plaintiff and the other Class members’ use and enjoyment of, and the ability to

access, their phones, including the related data, software, and hardware



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components.

      49.     To redress these injuries, Plaintiff, on behalf of himself and the

Classes of similarly situated individuals, brings this suit under the TCPA, which

prohibits unsolicited telemarketing calls to cellular telephones. On behalf of the

Classes, Plaintiff seek an injunction requiring Defendants to cease all unauthorized

calling activities and an award of statutory damages to the class members, together

with costs and reasonable attorneys’ fees.

                        CLASS ACTION ALLEGATIONS

      50.     Plaintiff brings this action in accordance with Federal Rule of Civil

Procedure 23(b)(2) and Rule 23(b)(3) on behalf of himself and two Classes defined

as follows:

      DNC Registry Class: All persons in the United States who (1) from
      the date four years prior to the filing of this Complaint through the
      date notice is sent to the Class; (2) Defendants caused to be called; (3)
      on the person’s telephone; (4) more than one time during any 12-
      month period; (5) where the person’s telephone number had been
      listed on the National Do No Call Registry for at least thirty days at
      the time of the calls; (6) for the same purpose as Defendants called
      Plaintiff; and (7) for whom Defendants claim they obtained consent in
      the same manner as Defendants claim they obtained consent to call
      the Plaintiff.

      DNC Stop Class: All persons in the United States who (1) from the
      date four years prior to the filing of this Complaint through the date
      notice is sent to the Class; (2) Defendants caused to be called; (3) on
      the person’s telephone; (4) where the person’s telephone number had
      been listed on the National Do No Call Registry for at least thirty
      days; (5) for the same purpose as Defendants called Plaintiff; (6) who
      requested that Defendants not call them again; and (7) who received at

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      least one additional call from Defendants at least thirty days after
      requesting not to be called again.

      51.    The following people are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2)

Defendants, Defendants’ subsidiaries, parents, successors, predecessors, and any

entity in which the Defendants or their parents have a controlling interest and their

current or former employees, officers and directors; (3) persons who properly

execute and file a timely request for exclusion from the Classes; (4) persons whose

claims in this matter have been finally adjudicated on the merits or otherwise

released; (5) Plaintiff’s counsel and Defendants’ counsel; and (6) the legal

representatives, successors, and assignees of any such excluded persons. Plaintiff

anticipates the need to amend the class definitions following a period of

appropriate discovery.

      52.    Numerosity: The exact number of members within the Classes is

unknown and not available to Plaintiff at this time, but individual joinder is

impracticable. On information and belief, Defendants have placed telemarketing

calls to thousands of consumers who fall into the defined Classes. However, the

exact number of members of the Classes can only be identified through

Defendants’ records, including the Defendants’ phone records.

      53.    Typicality: Plaintiff’s claims are typical of the claims of other

members of the Classes in that Plaintiff and the members of the Classes sustained

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damages arising out of Defendants’ uniform wrongful conduct.

      54.    Adequate Representation: Plaintiff will fairly and adequately

represent and protect the interests of the Classes, and has retained counsel

competent and experienced in complex class actions, including cases under the

TCPA. Plaintiff has no interest antagonistic to those of the Classes, and Defendants

have no defenses unique to Plaintiff.

      55.    Commonality and Predominance: There are questions of law and

fact common to the claims of Plaintiff and the Classes, and those questions will

drive the litigation and predominate over any questions that may affect individual

members of the Classes. Common questions for the Classes include, but are not

necessarily limited to the following:

             (a)   Whether Defendants’ conduct violated the TCPA;

             (b)   Whether Defendants made multiple telemarketing calls to

      consumers whose telephone numbers were registered on the National Do

      Not Call Registry within the same 12-month period;

             (c)   Whether Defendants systematically made telephone calls to

      consumers more than thirty (30) days after they explicitly asked not to be

      called by Defendants;




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             (d)    Whether Defendants maintained a written policy regarding the

      maintenance of any internal Do Not Call List and whether Defendants

      maintained any such list;

             (e)    Whether Defendants trained personnel involved in

      telemarketing in the existence and use of their Do Not Call policy and list;

      and

             (f)    Whether members of the Classes are entitled to treble damages

      based on the willfulness of Defendants’ conduct.

      56.    Conduct Similar Towards All Class Members: By committing the

acts set forth in this pleading, Defendants have acted or refused to act on grounds

substantially similar towards all members of the Classes so as to render

certification of the Classes for final injunctive relief and corresponding declaratory

relief appropriate under Rule 23(b)(2).

      57.    Superiority & Manageability: This case is also appropriate for class

certification because class proceedings are superior to all other available methods

for the fair and efficient adjudication of this controversy. Joinder of all parties is

impracticable, and the damages suffered by the individual members of the Classes

will likely be relatively small, especially given the burden and expense of

individual prosecution of the complex litigation necessitated by Defendants’

actions. Thus, it would be virtually impossible for the individual members of the



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Classes to obtain effective relief from Defendants’ misconduct. Even if members

of the Classes could sustain such individual litigation, it would still not be

preferable to a class action, because individual litigation would increase the delay

and expense to all parties due to the complex legal and factual controversies

presented in this Complaint. By contrast, a class action presents far fewer

management difficulties and provides the benefits of single adjudication,

economies of scale, and comprehensive supervision by a single Court. Economies

of time, effort and expense will be fostered and uniformity of decisions ensured.

Also, there are no pending governmental actions against Defendants for the same

conduct.

                          FIRST CAUSE OF ACTION
                      Violation of 47 U.S.C. § 227, et seq.
               (On behalf of Plaintiff and the DNC Registry Class)

      58.    Plaintiff incorporates the foregoing allegations as if fully set forth

herein.

      59.    47 U.S.C. § 227(c) provides that any “person who has received more

than one telephone call within any 12-month period by or on behalf of the same

entity in violation of the regulations prescribed under this subsection may” bring a

private action based on a violation of said regulations, which were promulgated to

protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object.



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      60.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),

provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]

residential telephone subscriber who has registered his or her telephone number on

the national do-not-call registry of persons who do not wish to receive telephone

solicitations that is maintained by the federal government.”

      61.    47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity

shall initiate any call for telemarketing purposes to a residential telephone

subscriber unless such person or entity has instituted procedures for maintaining a

list of persons who request not to receive telemarketing calls made by or on behalf

of that person or entity. The procedures instituted must meet the following

minimum standards:

      (1) Written policy. Persons or entitles making calls for telemarketing
      purposes must have a written policy, available upon demand, for
      maintaining a do-not-call list.

      (2) Training of personnel engaged in telemarketing. Personnel
      engaged in any aspect of telemarketing must be informed and trained
      in the existence and use of the do-not-call list.

      (3) Recording, disclosure of do-not-call requests. If a person or entity
      making a call for telemarketing purposes (or on whose behalf such a
      call is made) receives a request from a residential telephone subscriber
      not to receive calls from that person or entity, the person or entity
      must record the request and place the subscriber’s name, if provided,
      and telephone number on the do-not-call list at the time the request is
      made. Persons or entities making calls for telemarketing purposes (or
      on whose behalf such calls are made) must honor a residential
      subscriber’s do-not-call request within a reasonable time from the date



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      such request is made. This period may not exceed thirty days from the
      date of such request . . . .

      (4) Identification of sellers and telemarketers. A person or entity
      making a call for telemarketing purposes must provide the called party
      with the name of the individual caller, the name of the person or entity
      on whose behalf the call is being made, and a telephone number or
      address at which the person or entity may be contacted. The telephone
      number provided may not be a 900 number or any other number for
      which charges exceed local or long distance transmission charges.

      (5) Affiliated persons or entities. In the absence of a specific request
      by the subscriber to the contrary, a residential subscriber’s do-not-call
      request shall apply to the particular business entity making the call (or
      on whose behalf a call is made), and will not apply to affiliated
      entities unless the consumer reasonably would expect them to be
      included given the identification of the caller and the product being
      advertised.

      (6) Maintenance of do-not-call lists. A person or entity making calls
      for telemarketing purposes must maintain a record of a consumer’s
      request not to receive further telemarketing calls. A do-not-call
      request must be honored for 5 years from the time the request is
      made.”

      62.    Defendants violated 47 C.F.R. § 64.1200(c) by initiating, or causing

to be initiated, telephone solicitations to telephone subscribers such as Plaintiff and

the DNC Registry Class members who registered their respective telephone

numbers on the National Do Not Call Registry. These consumers requested to not

receive calls from Defendants as set forth in 47 C.F.R. § 64.1200(d)(3).

      63.    Defendants each made more than one unsolicited telephone call to

Plaintiff within a 12-month period without Plaintiff’s prior express written consent

to receive such calls. Defendant also made more than one unsolicited telephone

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call to each member of the Class within a 12-month period without their prior

express consent to receive such calls. Plaintiff and members of the DNC Registry

Class never provided any form of consent to receive telephone calls from

Defendants, oral or written, and/or Defendants do not have a current record of

consent to place telemarketing calls to them.

      64.    Defendants violated 47 U.S.C. § 227(c)(5) by placing more than one

call to Plaintiff and the Class in a 12-month period despite the fact Plaintiff and the

Class members’ telephone numbers were registered on the national Do Not Call

list for more than 30 days.

      65.    Defendants also violated 47 C.F.R. § 64.1200(d) by initiating calls for

telemarketing purposes to residential telephone subscribers, such as Plaintiff and

the DNC Registry Class, without instituting procedures that comply with minimal

regulatory standards, including having a written policy for maintaining a list of

persons who request not to receive telemarketing calls from them, and by not

informing and training their personnel engaged in telemarketing in the existence

and use of any such do-not-call policy or list.

      66.    As a result of Defendants’ unlawful conduct, Plaintiff and the Class

suffered actual damages and, under section 47 U.S.C. § 227(c)(5), Plaintiff and

each member of the DNC Registry Class are each entitled to receive up to $500 in

damages for each violation of 47 C.F.R. § 64.1200.



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      67.    Should the Court determine that Defendants’ conduct was willful and

knowing, the Court may, pursuant to Section 227(c)(5), treble the amount of

statutory damages recoverable by Plaintiff and the other members of the DNC

Registry Class.

                         SECOND CAUSE OF ACTION
                        Violation of 47 U.S.C. § 227, et seq.
                  (On behalf of Plaintiff and the DNC Stop Class)

      68.    Plaintiff incorporates the foregoing allegations as if fully set forth

herein.

      69.    Plaintiff and other members of the DNC Stop Class expressly

requested that Defendants no longer placed calls to them, after which Defendants

failed to place Plaintiff and other members of the DNC Stop Class on its internal

do not call list (or failed to do so within a reasonable time period).

      70.    More than thirty days following Plaintiff and the other members of the

DNC Stop Class express stop requests to cease their receipt of future calls from

Defendants, Defendants placed additional calls to Plaintiff and the class members

without their consent and contrary to their prior requests not to be called.

      71.    Thus, Defendants violated 47 C.F.R. § 64.1200 by initiating calls for

telemarketing purposes to telephone subscribers such as Plaintiff and the DNC

Stop Class who were registered on the national do not call registry and who

specifically told Defendants to stop calling them, and who received more calls



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within a 12-month period from Defendants after informing Defendants to stop

calling them.

      72.    Defendants made these calls without instituting procedures that

comply with minimal regulatory standards, including having a written policy for

maintaining a list of persons who request not to receive telemarketing calls from

them, and by not informing and training their personnel engaged in telemarketing

in the existence and use of any such do-not-call policy or list.

      73.    As a result of Defendants’ unlawful conduct, Plaintiff and the Class

suffered actual damages and, under section 47 U.S.C. § 227(c)(5), Plaintiff and

each member of the DNC Stop Class are each entitled to receive up to $500 in

damages for each violation of 47 C.F.R. § 64.1200.

      74.    In the event the Court determines that Defendants’ conduct was

willful and knowing, the Court may, pursuant to Section 227(c)(5), treble the

amount of statutory damages recoverable by Plaintiff and the other members of the

DNC Stop Class.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff James Gindin, on behalf of himself and the

Classes, prays for the following relief:

      A.     An order certifying the Classes as defined above, appointing Plaintiff

             as the representative of the Classes, and appointing his counsel as



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           Class Counsel;

      B.   An order declaring that Defendants’ actions, as set out above, violate

           the TCPA;

      C.   An injunction prohibiting Defendants from conducting any future

           telemarketing activities until they have established a written policy for

           maintaining an internal Do Not Call List, and train their personnel in

           the existence and use of such a policy and list as required by the

           TCPA;

      D.   An injunction requiring Defendants to cease all unsolicited

           telemarketing calls to individuals registered on the National Do Not

           Call Registry;

      E.   An injunction requiring Defendants to cease all telemarketing calls to

           individuals who have requested to no longer receive calls more than

           thirty (30) days after the request is received;

      F.   An award of actual monetary loss from such violations or the sum of

           five hundred dollars ($500.00) for each violation, whichever is greater

           all to be paid into a common fund for the benefit of the Plaintiff and

           the Class Members;

      G.   An award of trebled damages if willfulness is shown;

      H.   An award of reasonable attorneys’ fees and costs to be paid out of the



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            common fund prayed for above; and

      I.    Such other and further relief that the Court deems reasonable and just.

                                  JURY DEMAND

      Plaintiff requests a trial by jury of all claims that can be so tried.


Dated: October 16, 2018                  JAMES GINDIN, individually and on
                                         behalf of all others similarly situated,

                                         By: /s/ Bradley J. Friedman
                                         One of Plaintiffs’ Attorneys

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                                         Counsel for Plaintiff and the Putative
                                         Classes




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